        Case 4:97-cr-00243-JLH Document 1321 Filed 07/08/19 Page 1 of 6
                              United States Court of Appeals
                                     For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                              VOICE (314) 244-2400
Michael E. Gans
                                                                                FAX (314) 244-2780
 Clerk of Court
                                                                              www.ca8.uscourts.gov

                                                           July 08, 2019


Mr. George Gust Kouros                                                       4:97-cr-00243-02-JLH
FEDERAL PUBLIC DEFENDER'S OFFICE
Federal Capital Habeas Project
Suite 710
6411 Ivy Lane
Greenbelt, MD 20770

       RE: 19-2432 Daniel Lee v. United States

Dear Counsel:

        We have received certified copies of the notice of appeal and docket entries from the
Clerk of the United States District Court. In accordance with Rule 24(a), Federal Rules of
Appellate Procedure, the appeal has been docketed under the number indicated. Please include
the caption and the case number on all correspondence or pleadings submitted to the Court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

       The notice of appeal has been treated as an application for certificate of appealability in
accordance with Rule 22(b) of the Federal Rules of Appellate Procedure. Within 60 days of the
date of this letter, counsel for the appellant my file a separate application for certificate of
appealability. Once the separate application for certificate of appealability has been
received, the case will be forwarded to a panel of judges for consideration. You will be
advised of any action taken in the case.

       An order appointing your office to represent appellant will be forwarded under a separate
Notice of Docket Activity.

       On June 1, 2007, the Eighth Circuit implemented the appellate version of CM/ECF.
Electronic filing is now mandatory for attorneys and voluntary for pro se litigants proceeding
without an attorney. Information about electronic filing can be found at the court's web site
www.ca8.uscourts.gov. In order to become an authorized Eighth Circuit filer, you must register
with the PACER Service Center at https://www.pacer.gov/psco/cgi-bin/cmecf/ea-regform.pl.
Questions about CM/ECF may be addressed to the Clerk's office.

                                                           Michael E. Gans
                                                           Clerk of Court



   Appellate Case: 19-2432         Page: 1          Date Filed: 07/08/2019 Entry ID: 4805478
          Case 4:97-cr-00243-JLH Document 1321 Filed 07/08/19 Page 2 of 6
CMH

Enclosure(s)

cc:      Mr. Ali Ahmad
         Mr. Daniel Lewis Lee
         Mr. Jim McCormack
         Mr. Morris H. Moon
         Mr. John Michael Pellettieri

            District Court/Agency Case Number(s): 4:18-cv-00649-JLH




      Appellate Case: 19-2432       Page: 2   Date Filed: 07/08/2019 Entry ID: 4805478
         Case 4:97-cr-00243-JLH Document 1321 Filed 07/08/19 Page 3 of 6
Caption For Case Number: 19-2432

Daniel Lewis Lee

            Petitioner - Appellant

v.

United States of America

            Respondent - Appellee




     Appellate Case: 19-2432         Page: 3   Date Filed: 07/08/2019 Entry ID: 4805478
        Case 4:97-cr-00243-JLH Document 1321 Filed 07/08/19 Page 4 of 6
Addresses For Case Participants: 19-2432

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   Appellate Case: 19-2432       Page: 4   Date Filed: 07/08/2019 Entry ID: 4805478
        Case 4:97-cr-00243-JLH Document 1321 Filed 07/08/19 Page 5 of 6




             19-2432 Daniel Lee v. United States "PRISONER case docketed "
             (4:18-cv-00649-JLH, Lead: 4:97-cr-00243-JLH-2)
             ca08ml_cmecf_Notify to:                                          07/08/2019 03:01 PM


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                               Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 07/08/2019
Case Name:       Daniel Lee v. United States
Case Number: 19-2432
Document(s): Document(s)

Docket Text:
Prisoner case docketed. [4805478] [19-2432] (Crystal Henderson)

Notice will be electronically mailed to:

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Mr. Jim McCormack, Clerk of Court: ared_appeals@ared.uscourts.gov
Mr. Morris H. Moon: moonmorris@aol.com, Morris_Moon@fd.org, Kim_Taylor@fd.org
Mr. John Michael Pellettieri: john.pellettieri@usdoj.gov


Notice will be mailed to:


Mr. Daniel Lewis Lee
U.S. PENITENTIARY
4700 Bureau Road, S.
Terre Haute, IN 47802

The following document(s) are associated with this transaction:
Document Description: COA Docketing Letter
Original Filename:
/opt/ACECF/live/forms/CrystalHenderson_192432_4805478_COADocketingLetters_114.pdf
        Case 4:97-cr-00243-JLH Document 1321 Filed 07/08/19 Page 6 of 6



Electronic Document Stamp:
[STAMP acecfStamp_ID=1105112566 [Date=07/08/2019] [FileNumber=4805478-0]
[909d05e38c5976ce16eafe974910b25203dc66192f01a1e9b4a5e3e55b555c9eddd6ef2477fbfaadb
10d1afa39b9c208da4433c2227017a62eae1dc76bf9e419]]
Recipients:
    Mr. Ali Ahmad, Assistant U.S. Attorney
    Mr. George Gust Kouros, Assistant Federal Public Defender
    Mr. Daniel Lewis Lee
    Mr. Jim McCormack, Clerk of Court
    Mr. Morris H. Moon
    Mr. John Michael Pellettieri

The following information is for the use of court personnel:


DOCKET ENTRY ID: 4805478
RELIEF(S) DOCKETED:
DOCKET PART(S) ADDED: 6323781, 6323782, 6323783
